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                                                                                                                                          Mayer Brown LLP
                                                                                                                                        1999 K Street, N.W.
                                                                                                                                Washington, DC 20006-1101
                                                                                                                                   United States of America

                                                                                                                                           T: +1 202 263 3000
                                                                                                                                           F: +1 202 263 3300

                                                                                                                                               mayerbrown.com
October 10, 2024
                                                                                                                                           Kelly B. Kramer
VIA ECF                                                                                                                                                Partner
                                                                                                                                           T: +1 202.263.3007
                                                                                                                                       kkramer@mayerbrown.com
The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square                                                   Date: October 15, 2024
New York, New York 10007

Re:    United States v. William Weiner, 22 Cr. 19 (PGG)

Dear Judge Gardephe:

        We write on behalf of our client, Dr. William Weiner, requesting that the Court order the
return of Dr. Weiner’s passport, which counsel confirmed is in possession of Pretrial Services as
of October 10, 2024. Dr. Weiner has been sentenced in this case and is currently on probation. Dr.
Weiner has reached out to the Probation Office and the Office has no objection to the return of Dr.
Weiner’s passport. See Ex. A (email exchange between Dr. Weiner’s counsel and Dr. Weiner’s
Probation Officer). Furthermore, counsel has reached out to the Government, and the Government
likewise does not object to the return of Dr. Weiner’s passport. Thus, Dr. Weiner respectfully
requests that the Court issue an order directing Pretrial Services to return Dr. Weiner’s passport.


Respectfully submitted,


/s/ Kelly B. Kramer
Kelly B. Kramer
Counsel to Dr. William Weiner

CC: All Counsel of Record




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                     Exhibit A
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